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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMISSIONS IMPORT EXPORT S.A.,

                                     Petitioner,

                 V.                                     Civil Action No. 1: 13 -cv-713 -RLW

REPUBLIC OF THE CONGO,

                                     Respondent.



                           DECLARATION OF BOAZ S. MORAG


       I, Boaz S. Morag, make this declaration pursuant to 28 U.S.C. § 1746:

       1.      I am Counsel in the New York office of the law firm of Cleary Gottlieb Steen &

Hamilton LLP ("Cleary Gottlieb"). Cleary Gottlieb has represented the Republic of the Congo

(the "Congo") in various actions for more than 14 years. I have been involved in those

representations since 2003. I make this Declaration on the basis of my personal knowledge and

belief gained through the performance of my duties in this position.

       2.      On April 17, 2009, Commissions Import Export S.A. ("Comimisimpex")

commenced an arbitration against the Congo before the International Court of Arbitration of the

ICC. See ICC Case No. 16257/EC/ND/MCP. The law firm of White & Case LLP ("White &

Case") represented Commisimpex, and Cleary Gottlieb represented the Congo in the arbitration.

The arbitration related to a series of public works contracts executed by the Congo and

Commisimpex. The place of the arbitration was Paris, France.

       3.      On January 21, 2013, the ICC tribunal rendered an award in the arbitration (the

"2013 Award").
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         4.       On February 20, 2013, the Congo moved to set aside (vacate) the 2013 Award

before the Paris Court of Appeals pursuant to Article 1520 of the French Civil Code. Cleary

Gottlieb represents the Congo in this French court action, and White & Case represents

Commisimpex. The motion to set aside remains pending.

         5.       Starting in 2011, 1 and others in the New York and Washington, D.C. offices of

Cleary Gottlieb represented the Congo in a separate action entitled Commissions Import Export

S.A. v. Republic of the Congo et al., No. 1: 12-cv-00743 (D.D.C.) ("Action 1"). White & Case

represented Commisimpex in that matter, which was brought by Commisimpex to recognize and

enforce in the United States an English court judgment based on an earlier arbitral award in favor

of Commisimpex.1

         6.      According to this Court's PACER docket records, on May 15, 2013,

Commisimpex commenced the above-captioned matter ("Action 2") by filing a Petition to

Confirm the 2013 Award. The PACER docket records indicate that White & Case appeared as

attorneys of record for Commisimpex in this matter. The PACER docket records further indicate

that when the Congo did not appear in this action, White & Case filed a Motion for Default

Judgment on September 3, 2013 and obtained a default judgment on September 30, 2013, in

favor of Commisimpex. Finally, the PACER docket records reflect that an amended default

judgment was entered on October 9, 2013.

        7.       The facts recited in Paragraph 6 above with respect to Action 2 were unknown to

me at the time these events occurred. I have consulted with my colleagues in Cleary Gottlieb's

office in Paris, France, who represented the Congo in the arbitration and currently represent the

Congo in the motion to set aside before the French courts, and in Cleary Gottlieb's New York or


    I The Republic of Congo is in the process of transitioning its counsel in Action 1 from Cleary Gottlieb to
Chadbourne & Park LLP. A substitution of counsel in Action 1 will be filed shortly.
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Washington, D.C. offices, who represent the Congo in Action 1. They have confirmed that none

of these facts were known to them at the time these events were occurring.

        8.       In addition, neither before, nor since, the Court's entry of default judgment in this

action did White & Case inform any attorneys in the Paris, New York or Washington, D.C.

offices of Cleary Gottlieb who represented the Congo, either orally or in writing, of the pendency

of this action, including the filing of the petition, the motion for default judgment, the default

judgment or the amended default judgment.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on this   23   d   day of September 2014 in New York, New York.




                                                               Boaz    .   Morag     \
